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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

LARRY SMITH,

                       Plaintiff,                           Case Number 21-12070
v.                                                          Honorable David M. Lawson

COUNTY OF WAYNE, ROBERT J.
DONALDSON, MONICA CHILDS, GENE
KARVONEN, ROGER MUELLER, WALTER
LOVE, KEITH CHISHOLM, and JOHN
DEMBINSKI,

                  Defendants.
________________________________________/

                  ORDER GRANTING MOTION TO EXTEND TIME TO
                       SERVE SUMMONS AND COMPLAINT

       This matter is before the Court on the plaintiff’s motion to extend the time for serving the

summons and complaint. The complaint was filed on September 3, 2021, and summonses were

issued on September 7, 2021. Certificates of service have been filed evidencing service on most

of the defendants, but plaintiff’s counsel represents that service has not been completed on two

individuals due to apparent attempts to evade service and the possible death of one person. The

motion recites numerous failed attempts at service on those two defendants.

       Generally, a plaintiff must serve each defendant with a copy of the summons and complaint

within 90 days after filing the complaint. Fed. R. Civ. P. 4(m). The deadline, however, must be

extended “for an appropriate period” if “the plaintiff shows good cause for the failure.” Ibid. The

Court finds that sufficient information has been presented to suggest that service has been delayed

despite the plaintiff’s diligent efforts, and the plaintiff has shown good cause for the failure to

complete service within the usual time allowed. The Court therefore will grant the motion to

extend the time for service.
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      Accordingly, it is ORDERED that the plaintiff’s motion to extend the time for service

(ECF No. 10) is GRANTED, and service of the summons and complaint must be completed on

or before January 31, 2022.

                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

Dated: December 2, 2021




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